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                    Exhibit 5
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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                   )
 HERMÈS INTERNATIONAL and HERMÈS                   )
 OF PARIS, INC.,                                   )
                                                   )
                               Plaintiffs,         )
                                                   )
                v.                                 )   Civil Action No. 1:22-cv-00384-JSR
                                                   )
                                                   )
 MASON ROTHSCHILD,                                 )
                                                   )
                               Defendant.          )
                                                   )
                                                   )


                           Expert Rebuttal Report of David Neal, Ph.D.,

                      in Response to Expert Report of Dr. Bruce Isaacson

I, Dr. David T. Neal, hereby declare as follows:

1. Section 1: Background, Qualifications, and Purpose

   1.1. I submit this Rebuttal Report in the matter of HERMÈS INTERNATIONAL and

         HERMÈS OF PARIS, INC., (hereinafter, “Plaintiffs” or “Hermès”) v. MASON

         ROTHSCHILD, (hereinafter, “Defendant” or “Mason Rothschild”) in the United States

         District Court for the Southern District of New York.


  1.2. I am an Executive in Residence at Duke University and Managing Partner of Catalyst

         Behavioral Sciences LLC, a research consulting firm specializing in the analysis of

         human decision making and consumer behavior, which includes extensive work in

         connection with consumer surveys.

  1.3. At Catalyst Behavioral Sciences, I provide services for clients across a range of

         industries. Among others in the corporate sector, I act or have acted as a consultant

         regarding surveys and consumer behavior to Bayer, Microsoft, Procter & Gamble,

         Intel, and Unilever. Among others in the public and non-profit sector, I act or have


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      acted as a consultant regarding surveys and health behavior to the World Bank, The

      Bill and Melinda Gates Foundation, The Centers for Disease Control and Prevention

      (CDC), USAID, and the Surgeon General of the U.S. Army.

1.4. I have around 20 years of experience conducting and reviewing consumer and other

      scientific surveys. I have been retained as an expert in a variety of trademark, patent,

      and false advertising matters. I have also testified as a survey expert in federal court,

      the National Advertising Division (NAD), and the International Trade Commission (ITC)

      on multiple occasions. My Curriculum Vitae, attached as Exhibit A, summarizes my

      education, peer-reviewed publications, and experience spanning both academic and

      commercial marketing research. My Curriculum Vitae also lists all cases in which,

      during the previous four years, I testified as an expert in a deposition or at trial.

1.5. For the preparation of this report, I am being compensated at my customary rate of

      $585 per hour by Defendant. Research assistants under my supervision are being

      compensated at their customary rates of $125 and $95 per hour. Compensation is not

      dependent in any way on the results of my work, my opinions, or the outcome of this

      matter.

1.6. I hold a Ph.D. in psychology from the University of Melbourne, Australia, awarded in

      2005, and completed my post-doctoral training at Duke University, working in the

      psychology department and the Fuqua School of Business. At Duke, I served as the

      Director of the Interdisciplinary Social Science Research Laboratories. I was then an

      assistant professor of psychology at the University of Southern California (USC). I

      have published extensively in the areas of consumer behavior and decision-making

      and have taught advanced research methods (including survey design), consumer

      behavior, and marketing courses at Duke University and USC. In 2012, I was the joint

      recipient (with Professor Wendy Wood) of the Park Outstanding Contributor Award

      presented by the Society for Consumer Psychology. This award recognizes the best


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          peer-reviewed paper published each year in the Journal of Consumer Psychology.

    1.7. I have reviewed Plaintiffs’ Amended Complaint, Defendant’s Answer and Affirmative

          Defenses, Memorandum of Law in Support of Defendant Mason Rothschild’s Motion to

          Dismiss the Amended Complaint, Memorandum of Law in Opposition to Mason

          Rothschild’s Motion to Dismiss, Reply Memorandum of Law in Further Support of

          Defendant Mason Rothschild’s Motion to Dismiss the Amended Complaint, and Judge

          Jed S. Rakoff’s Memorandum Order in this Matter. Based upon my review of these

          documents, I understand that:

             1.7.1. First, Plaintiffs own federal trademark registrations for the HERMÈS word

                      mark,1 the BIRKIN word mark,2 and the BIRKIN Trade Dress.3

             1.7.2. Second, Plaintiffs allege that “use by Defendant of the BIRKIN Mark and

                      HERMÈS has been without Hermès’ consent, has caused and is likely to

                      continue to cause confusion and mistake in the minds of the purchasing

                      public”4 and “tends to and does falsely create the impression that the goods

                      sold by Defendant are authorized, sponsored, or approved by Hermès

                      when, in fact, they are not.”5 More specifically, Plaintiffs allege that

                      “Defendant’s uses of the HERMÈS Mark in conjunction with his use of the

                      BIRKIN Mark, and the display of the METABIRKINS bags, serves only to

                      create a confusing impression among consumers as to Hermès’

                      sponsorship of the METABIRKIN collections of NFTs and the

                      METABIRKINS Website.”6

             1.7.3. Third, Defendant denies the likelihood of confusion allegations documented


1
  Plaintiff’s Amended Complaint, ¶ 30.
2
  Plaintiff’s Amended Complaint, ¶ 34.
3
  Plaintiff’s Amended Complaint, ¶ 35-36.
4
  Plaintiff’s Amended Complaint, ¶ 148.
5
  Plaintiff’s Amended Complaint, ¶ 148.
6
  Plaintiff’s Amended Complaint, ¶ 105.


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                      in the preceding paragraph.7,8

    1.8. In connection with this matter, I was asked by Defendant’s Counsel to conduct a

          scientific review of two surveys conducted by Dr. Bruce Isaacson, as documented in

          his Expert Report dated August 4, 2022.9 In brief, Dr. Isaacson conducted two

          likelihood of confusion surveys, one with NFT purchasers and one with luxury handbag

          purchasers, with the stated aim of determining “the likelihood of confusion, if any,

          between the MetaBirkins NFTs, sold by Mr. Rothschild, and Hermès, including the

          Birkin handbag.”10 Dr. Isaacson states that his surveys measured “the likelihood of

          confusion associated with the NFTs using elements related Hermès’ marks, including

          ‘the famous BIRKIN Mark and HERMÈS Mark,’ and the ‘mark for the BIRKIN

          handbag's distinctive design.’”11


    1.9. In his “Survey of NFT Purchasers,” Dr. Isaacson assigned likely purchasers of NFTs

          priced $2500 or higher either to a Test Cell or a Control Cell. In the Test Cell,

          respondents viewed a webpage featuring Defendant’s accused NFTs including

          multiple, separate elements Plaintiffs allege cause confusion (i.e., the HERMÈS mark,

          the BIRKIN mark, the allegedly confusing name “MetaBirkin,” and the Birkin trade

          dress). In the Control Cell, respondents viewed an altered version of the same

          webpage where all four elements alleged to cause confusion were removed and

          replaced with alternatives not alleged to infringe Plaintiffs’ marks or trade dress. In his

          Expert Report, Dr. Isaacson opines12 that likelihood of confusion was 21.6% in the Test

          Cell (where the four allegedly confusing elements were present) and 2.9% in the




7
  Defendant’s Answer, ¶ 105.
8
  Defendant’s Answer, ¶ 148.
9
  Hereafter, “Expert Report of Dr. Bruce Isaacson” or “Isaacson Report.”
10
   Expert Report of Dr. Bruce Isaacson, ¶ 5.
11
   Expert Report of Dr. Bruce Isaacson, ¶ 5.
12
   Expert Report of Dr. Bruce Isaacson, ¶ 21.


                                                                                                        4
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             Control Cell (where the four elements were absent). On the basis of these purported

             results, Dr. Isaacson concludes that net likelihood of confusion in his NFT Purchaser

            Survey was 18.7% (i.e., 21.6% minus 2.9%).13


     1.10. In his “Survey of Handbag Purchasers,” Dr. Isaacson followed the same survey

             methodology as in his NFT Purchaser Survey, but altered the qualifying criteria for his

             study. Specifically, instead of recruiting NFT purchasers, Dr. Isaacson recruited likely

             purchasers of handbags priced $10,000 or more. Although omitted from the text of his

             report, Dr. Isaacson found in this second survey that 18.8% of respondents were

             confused in the Test Cell and 15.2% were confused in the Control Cell.14 Thus, net

             likelihood of confusion in his Handbag Purchaser Survey was 3.6% (i.e., 18.8% minus

             15.2%).


     1.11. By way of summary, of the two surveys reported by Dr. Isaacson, one ostensibly

             provides evidence for a likelihood of confusion (i.e., the “NFT Purchaser Survey,” with

             a net confusion level of 18.7%), and one ostensibly provides evidence for the absence

             of a likelihood of confusion (i.e., the “Handbag Purchaser Survey,” with a net confusion

             level of 3.6%).


2. Section 2: Summary of Opinions Regarding Dr. Isaacson’s Surveys


      2.1. Having reviewed his two surveys, his report, and having reanalyzed his underlying

             data, it is my considered opinion that the conclusions Dr. Isaacson draws regarding

             likelihood of confusion are not scientifically valid or reliable. I base that opinion on (a)

             the existence of multiple design flaws in his surveys that introduced systematic bias in

             favor of Plaintiffs, and (b) a highly material data coding error in his NFT Purchaser



13
     Expert Report of Dr. Bruce Isaacson, ¶ 21.
14
     Expert Report of Dr. Bruce Isaacson, Exhibit 11, p. 24.


                                                                                                            5
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  Survey that led Dr. Isaacson to wrongly infer a likelihood of confusion in that survey.

  When this error is corrected, both of Dr. Isaacson’s surveys show that there is no

  likelihood of confusion with Plaintiffs caused by Defendant’s alleged infringement of

  Plaintiffs’ marks. The primary design flaws and data analysis errors I identified in Dr.

  Isaacson’s surveys are as follows:


2.1.1. Flaw 1: Dr. Isaacson’s studies inextricably combine confusion caused by the

        HERMÈS word mark, the BIRKIN word mark, the allegedly confusing

        “MetaBirkins” name, and the claimed Birkin Trade Dress. As a result, it is

        scientifically impossible to draw any scientific inferences about what amount of

        confusion, if any, is caused by any one of these elements in isolation.


2.1.2. Flaw 2: Dr. Isaacson correctly included a follow-up question to rule out the

        “reading test” problem in Eveready surveys of this kind. However, he then

        improperly ignored the data from this question, thereby materially inflating

        confusion and drawing the wrong conclusion in his “NFT Purchaser Survey.”

        After recoding to correct this flaw, his “NFT Purchaser Survey” shows no

        likelihood of confusion.


2.1.3. Flaw 3: Dr. Isaacson’s confusion questions (Q1 and Q7) are inherently

        ambiguous in a manner that is biased in favor of Plaintiffs and against Defendant.


2.1.4. Flaw 4: Dr. Isaacson’s Survey of Handbag Purchasers was improperly

        abandoned—apparently after it produced unfavorable results for Plaintiffs. Its

        results are relevant and suggest either that (a) Plaintiffs’ customers understand

        the accused NFT to be art, or (b) the Birkin mark and Birkin trade dress are very

        weak and are not acting as source identifiers.


2.1.5. Flaw 5: Dr. Isaacson did not disclose, and refused to provide when requested,


                                                                                             6
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              critical data coding that he relied upon as the basis for certain opinions. I was

              therefore unable to complete my scientific review of his findings.


  2.2. In the following Section, I elaborate on each of these issues and provide the scientific

       bases for my opinions.


3. Section 3: Summary of Opinions Regarding Isaacson Surveys


  3.1. I note at the outset that I respect Dr. Isaacson. However, as I explain below, my review

        of his Expert Report revealed at least five major flaws that render his conclusions

        scientifically invalid and unreliable. Moreover, one of these flaws (Flaw 2) involves a

        major data coding error that fundamentally alters the interpretation of the NFT

        Purchaser Survey. Once this error is corrected, this survey’s results align with the

        results of his Handbag Purchaser Survey. That is, both surveys show that Defendant’s

        MetaBirkins NFT is not causing a material likelihood of confusion with Plaintiffs.

  3.2. Flaw 1: Dr. Isaacson’s studies inextricably combine confusion caused by the

        HERMÈS word mark, the BIRKIN word mark, the allegedly confusing

        “MetaBirkins” name, and the claimed Birkin Trade Dress. As a result, it is

        scientifically impossible to draw any scientific inferences about what amount of

        confusion, if any, is caused by any one of these elements in isolation.

      3.2.1. My first criticism concerns a fundamental limitation on the scope of any scientific

              inference that can be drawn from the surveys Dr. Isaacson conducted. As is

              common in an Eveready survey, Dr. Isaacson used a Test-Control design where

              respondents in the Test Cell saw content (i.e., Defendant’s webpage for the

              MetaBirkin NFT) that included the allegedly infringing content. In the Control Cell,

              this content was removed and replaced with content not accused of infringing

              Plaintiffs’ word marks or trade dress.



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       3.2.2. In many cases, this approach is perfectly appropriate.15 The present

               circumstances are different and more complicated, however, because Plaintiffs

               allege that Defendant is engaging in multiple, distinct acts of infringement that

               encompass a variety of word and design marks. For example, Plaintiffs allege

               that:16


                    Defendant has, in connection with his goods, used in commerce, and
                    continues to use in commerce, the BIRKIN Mark, the federally registered
                    HERMÈS word mark, and the federally registered BIRKIN Trade Dress
                    which tend falsely to describe the origin, sponsorship, association or approval
                    by Hermès of the METABIRKINS NFTs sold by Defendant, despite repeated
                    requests from Hermès stop such use.


       3.2.3. In both surveys he conducted, Dr. Isaacson exposed his Test Cell respondents to

               all four allegedly infringing elements (i.e., HERMÈS word mark, BIRKIN word

               mark, the claimed Birkin trade dress, and the allegedly confusing name

               “MetaBirkin”). In his Control Cell, all four of these allegedly infringing elements

               were removed and replaced with variations Dr. Isaacson contends are non-

               infringing. Stated simply, Test Cell respondents saw all four allegedly elements

               and Control Cell respondents saw none. Table 1 summarizes how Dr. Isaacson

               implemented this in the stimuli he presented to Test and Control Cell

               respondents in both surveys.




15
   For a general discussion of Test-Control designs, see Shari Seidman Diamond, “Control Foundations:
    Rationale and Approaches” in Trademark and Deceptive Advertising Surveys: Law, Science, and
    Design, p. 248 (Shari S. Diamond & Jerre B. Swann, eds., 2022).
16
   Amended Complaint, ¶ 165.


                                                                                                        8
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            Table 1: Differences in Test versus Control Cell Stimuli in Both Isaacson
            Surveys.

                  Allegedly infringed by         Dr. Isaacson’s changes to Test stimulus vs. Control
                        Defendant                                        stimulus
                                                  1.    Instances of the word “HERMÈS” were changed
                                                        to “DARCY”
                   HERMÈS Word Mark               2.    “https://www.hermes.com/” was changed to
                                                        “https://www.darcy.com/”
                                                  3.    Instances of the word “Birkin” were changed to
                    BIRKIN Word Mark                    “Handbag”
                                                  4.    “the shape of the handbags was changed to a
                                                        shape that is more square.”17
                                                  5.    “The control removed the padlock on the front of
                   BIRKIN Trade Dress                   each handbag.”18
                                                  6.    “where vertical metallic lines were visible on the
                                                        test handbags, the control handbags removed
                                                        those lines from the front of the handbags.”19
                Allegedly confusing name          7.    Instances of the word “MetaBirkins” were
                      “MetaBirkins”                     changed to “MetaHandbags”



           3.2.4. Setting aside the other flaws documented in this report, I note that Dr.

                   Isaacson’s approach on this issue is not inherently flawed if one only seeks to

                   know the combined effect of all four elements of alleged infringement. If,

                   however, one seeks to know what amount of confusion (if any) is caused by

                   any one of these elements, then Dr. Isaacson’s design is fatally flawed. His

                   design simply makes it impossible to disaggregate what level of confusion is

                   stemming, for example, from Defendant’s alleged use of Plaintiffs’ trade dress

                   versus from Defendant’s use of the allegedly confusing name “MetaBirkins.”




17
   Expert Report of Dr. Bruce Isaacson, ¶ 12.
18
   Expert Report of Dr. Bruce Isaacson, ¶ 12.
19
   Expert Report of Dr. Bruce Isaacson, ¶ 12.


                                                                                                   9
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             3.2.5. In survey parlance, this is referred to as a “confound”20 across the Test and

                    Control Cells. As Professor Shari Diamond, author of the Federal Judicial

                    Center’s Reference Guide on Survey Research, put it, a control cell “should

                    share as many characteristics with the experimental stimulus as possible, with

                    the key exception of the characteristic whose influenced is being assessed.”21

                    Dr. Isaacson did not vary a single characteristic across his Test (or

                    “experimental stimulus”) and Control Cells, and instead varied four distinct

                    characteristics, each one of which is nonetheless alleged to be a distinct and

                    independent source of confusion. Because these four characteristics were

                    varied en bloc (i.e., all present in the Test; all absent in Control), it is

                    impossible to disaggregate, or “de-confound,” the specific cause of any

                    observed confusion.

             3.2.6. I note that, given his NFT Purchaser finding of 18.7% net confusion, it is

                    perfectly possible that none of the four, distinct alleged causes of confusion

                    are creating a material level of confusion by themselves. For example, each

                    could be contributing 4-5% confusion (thus reaching 18.7% in combination),

                    such that none, by itself, causes a material level of confusion using standards

                    commonly accepted by courts.22 Alternatively, the majority (e.g., 10%) may be

                    caused by the artwork’s alleged depiction of the Birkin trade dress, with the

                    remainder being caused by one or more of the word marks. In this second



20
     Frank R. Kardes and Paul M. Herr, Experimental Research Methods in Consumer Psychology, in Frank
      R. Kardes, Norbert Schwarz, Paul M. Herr (eds.), Handbook of Research Methods in Consumer
      Psychology 3–16 (2019).
21
   Shari Seidman Diamond, “Control Foundations: Rationale and Approaches” in Trademark and
    Deceptive Advertising Surveys: Law, Science, and Design, p. 248 (Shari S. Diamond & Jerre B.
    Swann, eds., 2022).
22
   Matthew G. Ezell & AnnaBelle Sartore, “Survey Percentages in Lanham Act Matters” in Trademark and
    Deceptive Advertising Surveys: Law, Science, and Design, 317-334 (Shari S. Diamond & Jerre B.
    Swann, eds., 2022).


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                   scenario, none of the word marks, whether taken in isolation or in

                   combination, would be causing a material level of confusion with Plaintiffs.

                   Given Dr. Isaacson’s confounded design, it is simply impossible to know.

     3.3. Dr. Isaacson correctly included a follow-up question to rule out the “reading

           test” problem in Eveready surveys of this kind. However, he then improperly

           ignored the data from this question, thereby materially inflating confusion and

           drawing the wrong conclusion from his “NFT Purchaser Survey.” After recoding

           to correct this flaw, his “NFT Purchaser Survey” shows no likelihood of

           confusion.

           3.3.1. Setting aside the various flaws documented in this report, Dr. Isaacson’s two

                   surveys generally sought to follow the Eveready format23 for studying

                   likelihood of confusion. In this approach, relevant consumers are presented

                   with a stimulus capturing the junior user’s24 alleged infringement (vs. a control

                   where the alleged infringement is removed) and are then asked a series of

                   open-ended question to determine if they believe the junior user’s

                   goods/services are put out by the senior user, or are affiliated, sponsored,

                   approved, or authorized by the senior user.

           3.3.2. In certain circumstances, a survey expert must include an additional follow-up

                   question to rule out the possibility that respondents are merely reading or

                   “playing back” what is shown to them in the survey, rather than actually being

                   confused and thinking specifically of the senior user when they see the junior

                   user’s allegedly infringing goods. This question is needed, for example, when



23
   For a general discussion, see Swann, J.B. “Likelihood of Confusion” in Trademark and Deceptive
    Advertising Surveys: Law, Science, and Design, 31-56 (Shari S. Diamond & Jerre B. Swann, eds.
    2022), p. 59-79.
24
   This description applies to the more common scenario of “forward confusion.” In a reverse confusion
    scenario, respondents see the senior user’s goods/services.


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         the study stimulus (e.g., imagery of the junior user’s allegedly infringing

         goods/services) literally uses the senior user’s mark. In such circumstances, a

         respondent who provides the senior user’s mark in response to an Eveready

         probe may be simply reading or playing back what was shown to them rather

         than expressing substantive confusion with the senior user.

  3.3.3. I note that those circumstances unequivocally apply here because the Test

         stimulus Dr. Isaacson showed to respondents included the word mark

         HERMÈS and the word mark BIRKIN, albeit in the form of a disclaimer (in the

         case of HERMÈS) or in the form of a sentence in the NFT artwork itself (in the

         case of BIRKIN, i.e., “NOT YOUR MOTHER’S BIRKIN”).

  3.3.4. The solution to this problem is to include a follow-up question in which

         respondents are asked to identify any additional goods or services that are put

         out by the source they have in this mind. The answers to this question allow

         the survey expert to work out whether a respondent is merely reading (i.e., a

         respondent who plays back the senior user’s mark but then fails to identify any

         goods/services put out by the senior user) versus is actually confused (i.e., a

         respondent who plays back the senior user’s mark and then correctly identifies

         any goods/services put out by the senior user).

  3.3.5. As noted authority Jerre Swann put it in discussing the original Eveready

         Survey:


           “the ‘please name any other products put out by the same concern that puts out
           the ____ shown here’ question (which measured the reach of the battery brand
           to products in a different category) was likely necessary in Eveready to
           differentiate between respondents who were merely “playing back” the Ever-




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                       Ready label on the lamp from those who believed the lamp was put out by the
                       battery company.”25



             3.3.6. Critically, Dr. Isaacson did include at least one question that partly addresses

                     this issue. Specifically, in both of his surveys, Dr. Isaacson first asked Q1,

                     shown below:




             3.3.7. After doing so, he followed up with Q2, Q3, and Q4. As shown below, Q4

                     provides a probe that can help rule out the reading test/playback issue, as is

                     required in the present circumstances.




25
     Swann, J.B. “Likelihood of Confusion” in Trademark and Deceptive Advertising Surveys: Law, Science,
      and Design, 31-56 (Shari S. Diamond & Jerre B. Swann, eds. 2022), p. 59-79.


                                                                                                      13
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  3.3.8.   Specifically, Q4 enabled Dr. Isaacson to determine whether respondents

           who listed “Hermes” or “Birkin” at Q1 were, in fact, thinking of the Plaintiffs

           versus merely reading or playing back one of many brands written on the

           stimulus they had just seen.

  3.3.9.   Despite having this data, Dr. Isaacson simply ignored it when calculating the

           confusion numbers presented in his report. Specifically, he failed to code

           people’s answers to Q4 to identify if respondents were plausibly thinking of

           Plaintiffs (and hence were actually confused) versus were simply reading.

  3.3.10. This is a fatal flaw because it both (a) deviates from accepted scientific

           practice for Eveready surveys in circumstances such as those that apply

           here, and (b) as shown below, materially alters the scientific conclusion one

           draws from Dr. Isaacson’s NFT Purchaser Survey.

  3.3.11. To correct for this fatal flaw, I reanalyzed the raw data from Dr. Isaacson’s

           NFT Purchaser Survey applying the proper and standard coding approach to

           both his Test and Control Cell results. As presented in Tables 2 and 3

           below, I identified the twenty-one Test Cell respondents (see Table 2) and

           three Control Cell respondents (see Table 3) in the NFT Purchaser Survey

           that Dr. Isaacson classified as confused. I then examined these

           respondents’ answers to Q4 to determine if each respondent was actually

           thinking of Plaintiffs versus merely reading/playing back. Specifically, I


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                            coded them as reading/playing back if they failed to mention any of Plaintiffs’

                            goods despite being prompted to do so at Q4. Tables 2 and 3 identify the

                            individuals I recoded and provide the recoded data underlying my

                            conclusions.


         Table 2: Test Cell Respondents Coded as Confused by Dr. Isaacson in Survey of NFT
         Purchasers and Dr. Neal’s Recoding.*

                                                                                                Isaacson         Neal
ResponseI                Q1                             Q4                        Q7            Confusio       Confusio
    D                 Response                       Response                  Response             n             n
                                                                                                 Coding        Recoding
                Birkins is the company real handbags are also
    2                                                                                                1               1
                that makes these NFT   made
                looksrare and hermes   hermes does clothes,
   14                                                                                                1               1
                                       handbags, shies
   15           Hermes                 Satchel                               Hermes                  1               1
                Based on descriptions Well if your question is
                disclaimer it’s Hermès referring to who makes the
                Birkin bags, or        actual handbag shown,
                MetaBirkins.           Hermès sells luxury
  1826                                                                                               1               1
                                       handbags, footwear,
                                       fragrances, accessories,
                                       watches and jewelry to my
                                       knowledge.
                the company that                                             the brand that
   20           makes birkins                                                makes the               1               1
                                                                             actual bags
   33           hermes birkins                                                                       1               0
                Hermes, and its             An NFT for faux fur bags.        All the brands
                endorsed by Vogue                                            listed under
   57                                                                                                1               0
                Business, Complex,                                           "read"
                Input mag.. etc.
                Bodkin, Gucci and           Birkin and chanel
   65                                                                                                1               0
                chanel
   71           birkins                     forbes                                                   1               0
                The company is
   83           Birkin, you can see                                                                  1               0
                the brand clearly
   101          The company Hermes          The brand meta verse             OpenSea let’s           1               1

    26
         I note that, in response to Q2, ResponseID 18 wrote: “Q2 Response: “The webpage Name and
          description states it’s MetaBirkins. But also, the webpage disclaimer at the bottom clearly states the
          author of the post or NFT is not affiliated with “Hermès” who is the actual registered Trademark Owner
          of Birkin bags” Despite this, this Test Cell respondent was nonetheless classified by Dr. Isaacson as
          “confused.” For the purposes of my analysis in Table 2 only, I retained Dr. Isaacson’s classification of
          this person, thereby giving the benefit of any doubt to Plaintiffs.


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             makes the meta            makes the nft and the          the nft be
             Burlington bag            brand Hermes makes the         published and
                                       bag                            then I
   108       metabirkins               hermes                         hermes                1               0
   116       birkins                   birkin clothing                meta                  1              1**
   129       MietaBirkins              Hermes                         MietaBirkins          1               0
   141       Birkin                    babybirkin                                           1               0
             birkin                    birkin makes real bags that
   142                                 are incredibly popluar for                           1              1
                                       people to own and carry
   157       Berkin                                                                         1              0
             Hermes                                                   Elie ,I think it
                                                                      cares about
   165                                                                NFT and               1              0
                                                                      wants to
                                                                      invest in it.
             MetaBirkin, Hermes,                                      Hermes
   169                                                                                      1              0
             Forbes, Vogue
             A store outlet that is    Hermes Birkin is the
   202       pretty expensive that     company that makes Birkin                            1              1
             sells meta birkins.       and I think they do crypto.
             HERMES.COM                Metabirkins.com                Mason
   209                                                                                      1              0
                                                                      Rothschild
                                                                                           21.6%        9.3%
Total Confused in Test Cell of Survey of NFT Purchasers
                                                                                          (21/97)       (9/97)
         *1 = confused, 0 = not confused. Note also that the coding for Isaacson is collapsed across
         all of his coding variables corresponding to Q1, Q4, and Q7.
         **“I understand that “Birkin clothing” does not exist, but since Hermes makes clothing, this is
         coded as an instance of confusion to give any benefit of the doubt to Plaintiffs.




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      Table 3: Control Cell Respondents Coded as Confused by Dr. Isaacson in Survey of NFT
      Purchasers and Dr. Neal’s Recoding.*

                                                                                       Isaacson           Neal
                        Q1                        Q4                                   Confusio         Confusio
ResponseID                                                          Q7 Response
                     Response                  Response                                    n               n
                                                                                        Coding          Recoding
                                                                   Basic.space is
                                                                   where they
                                                                   were available
                                                                   so besides
     52                                                            Hermes I would           1                 0
                                                                   say that they
                                        The digital retailer       probably
                                        partnered with Hermes      sponsor the
                                        and Rothschild.            project.
                MetaHandbags.
                Made by one Mr
     98                                                                                     1                 0
                Rothchilds. Sold on
                looksrare.com
     105        Hermes                                             Meta                    1            0
                                                                                         2.9%         0.0%
Total Confused in Control Cell of Survey of NFT Purchasers
                                                                                        (3/104)      (0/104)
      *1 = confused, 0 = not confused. Note also that the coding for Isaacson is collapsed across all
      of his coding variables corresponding to Q1, Q4, and Q7.


                3.3.12. As Table 2 shows, after applying this standard coding to Dr. Isaacson’s Test

                         Cell data, the percentage of respondents who are actually confused drops to

                         9.3% (9/97) from the 21.6% (21/97) figure incorrectly reported by Dr.

                         Isaacson. As Table 3 shows, after applying this same standard coding to Dr.

                         Isaacson’s Control Cell data, the percentage of respondents who are

                         actually confused drops to 0.0% (0/104) from the 2.9% (3/97) figure

                         incorrectly reported by Dr. Isaacson.


                3.3.13. With the corrected numbers provided in Tables 2 and 3, it is possible to

                         calculate a corrected net confusion number for Dr. Isaacson’s NFT

                         Purchaser Survey. Doing so materially alters the scientific conclusion drawn

                         from this survey. Specifically, Dr. Isaacson reported that net likelihood of


                                                                                                         17
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                       confusion in his NFT Purchaser Survey was 18.7% (i.e., 21.6% Test Cell

                       confusion minus 2.9% Control Cell confusion).27 Table 4 below provides the

                       corrected calculation, using the standard coding approach used in Eveready

                       surveys in these specific circumstances.


      Table 4. Corrected Net Confusion Results in the NFT Purchaser Survey After
      Correcting Dr. Isaacson’s Analysis Error.
                                                       Percent and Number Confused in Survey
                                                                 of NFT Purchasers
                                                                     Full Sample
                                                                      (N=201)
           Test Cell                                                  9.3% (9/97)
           Control Cell:                                                 0.0% (0/104)
           NET CONFUSION (Test-Control)                                     9.3%


             3.3.14. As Table 4 shows, after correcting for Dr. Isaacson’s error, his NFT

                       Purchaser survey shows that only 9.3% of respondents confused

                       Defendant’s NFT with Plaintiffs because of the alleged infringement of

                       Plaintiffs’ marks and trade dress. Specifically, 9.3% (9/97) of Test Cell

                       respondents were confused and 0.0% (0/104) of Control Cell respondents

                       were confused. Thus, net confusion stemming from the combination of the

                       four alleged forms of infringement (the HERMÈS mark, the BIRKIN mark,

                       the allegedly confusing “MetaBirkin” name, and the claimed Birkin trade

                       dress) is 9.3% (i.e., 9.3% Test Cell confusion minus 0.0% Control Cell

                       confusion). A net level of 9.3% confusion falls comfortably below commonly




27
     Expert Report of Dr. Bruce Isaacson, ¶ 21.


                                                                                                   18
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                       accepted thresholds28 for establishing a likelihood of confusion in Lanham

                       Act matters.

             3.3.15. Although not required to support the revised analysis I performed, I note that

                       several additional factors support the conclusion that Dr. Isaacson’s flawed

                       analysis led him to include individuals who were obviously reading (and not

                       actually confused). Those additional factors are:

              3.3.15.1.   First, multiple Test Cell respondents wrongly classified as confused by

                          Dr. Isaacson explicitly or implicitly referenced in their answers that they

                          were simply reading back what was on the screen. For example, in

                          response to Dr. Isaacson’s Q2, i.e., “What makes you say that?”,

                          Respondent 142 wrote “the name of the website is meta birkin and over

                          the last image in each row is birkin the name of the bag,” Respondent

                          141 wrote “I saw Birkin on the webpage and in the description of the

                          product,” and Respondent 18 wrote “The webpage Name and

                          description states it’s MetaBirkins. But also, the webpage disclaimer at

                          the bottom clearly states the author of the post or NFT is not affiliated

                          with “Hermès” who is the actual registered Trademark Owner of Birkin

                          bags.” Clearly, these respondents are indicating that their verbatims are

                          being driven by what they are reading in the Test stimulus, i.e.,

                          Defendant’s webpage.

              3.3.15.2.   Second, multiple additional Test Cell respondents wrongly classified as

                          confused by Dr. Isaacson appear simply to have written down all brands

                          they read on the stimulus. For example, Respondent 169 wrote


28
     Matthew G. Ezell & AnnaBelle Sartore, “Survey Percentages in Lanham Act Matters” in Trademark and
     Deceptive Advertising Surveys: Law, Science, and Design, 317-334 (Shari S. Diamond & Jerre B.
     Swann, eds., 2022).



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                   “MetaBirkin, Hermes, Forbes, Vogue” in response to Q7 and

                   Respondent 57 wrote “Hermes, and its endorsed by Vogue Business,

                   Complex, Input mag.” These respondents, moreover, failed to identify

                   any of Plaintiffs’ goods at Q4 (or elsewhere), thus reinforcing the idea

                   that they were not actually thinking of Plaintiffs and merely “playing

                   back,” the multiple brands they saw on the screen.

3.4. Fatal Flaw 3: Dr. Isaacson’s confusion questions (Q1 and Q7) are inherently

     ambiguous in a manner biased in favor of Plaintiffs and against Defendant.

      3.4.1. A third flaw in Dr. Isaacson’s surveys centers on the unclear and ambiguous

              nature of the confusion questions he asked. These questions, Q1 and Q7, are

              shown below.




     3.4.2.   Notably, in both questions, Dr. Isaacson refers to Defendant’s goods merely as

              “the items shown on the webpage.” This is inherently ambiguous since


                                                                                              20
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                 respondents could logically interpret this as a reference to the NFT artwork

                 itself or to the real-world handbag the artwork visually references. To the

                 extent that respondents interpreted it as the latter, their answer would not

                 reflect confusion about who puts out the NFT artwork but who puts out the

                 physical object visually referenced in the NFT artwork.

        3.4.3.   To use a famous analogy, had Dr. Isaacson used his ambiguous question to

                 study Andy Warhol’s Campbell’s Soup paintings, it is perfectly plausible that

                 respondents might indicate that “Campbell’s Soup” puts out the “soup items

                 shown” yet not believe that Campbell’s Soup puts out the painting nor is

                 affiliated with it, sponsored it, or authorized it.

        3.4.4.   Exactly the same issue arises here given the ambiguity of Dr. Isaacson’s

                 question, which fails to properly contextualize and anchor the judgment

                 respondents are being asked to make. I note that this ambiguity is even

                 evident in the answers of several respondents, who chose explicitly to mention

                 it in providing their answers. Table 5 provides just three examples.


Table 5: Respondents’ Verbatims Showing How Respondents Were Confused by Dr.
Isaacson’s Survey Questions.
 ResponseID    Verbatim Response
               Q4 Response: “Well if your question is referring to who makes the actual
               handbag shown, Hermès sells luxury handbags, footwear, fragrances,
               accessories, watches and jewelry to my knowledge.”
      18
                 Q2 Response: “The webpage Name and description states it’s MetaBirkins.
                 But also, the webpage disclaimer at the bottom clearly states the author of
                 the post or NFT is not affiliated with “Hermès” who is the actual registered
                 Trademark Owner of Birkin bags.”

                 Q4 Response: “The brand meta verse makes the nft and the brand Hermes
      101
                 makes the bag”

                 Q2 Response: “Because of the name but maybe that is the name of the nfts
      28         and not the company but Im assuming that is Mason Rothchilds company
                 name”




                                                                                                 21
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           3.4.5.    This ambiguity creates a fatal flaw for Dr. Isaacson’s surveys because it is

                     impossible to know now whether respondents were thinking of the NFT artwork

                     when answering or thinking of the real-world object the artwork visually

                     references. Since his question wording is consistent with both interpretations, it

                     is impossible to know which respondents fall into each group. Respondents

                     who interpreted the questions as a reference to the underlying physical object

                     are not opining about confusion as to the source, affiliation, sponsorship, or

                     approval of the Defendant’s NFT artwork, but rather to a separate physical

                     object. As a result, their opinions are not relevant to any likelihood of confusion

                     caused by Defendant’s accused goods.


     3.5. Flaw 4: Dr. Isaacson’s Survey of Handbag Purchasers was improperly

            abandoned—apparently after it produced unfavorable results for Plaintiffs. Its

            results are relevant and suggest either that (a) Plaintiffs’ customers understand

            the accused NFT to be art, or (b) the Birkin mark and Birkin trade dress are very

            weak and are not acting as source identifiers.


           3.5.1.    As noted in Section 1, Dr. Isaacson conducted two surveys: One of “NFT

                     Purchasers” and one of “Handbag Purchasers.” The results of the second

                     survey are not presented in the body of Dr. Isaacson’s survey and are only

                     included in the Exhibits.29


           3.5.2.    Upon examining the results of the second survey, which recruited U.S.

                     purchasers of handbags priced $10,000 or more, I calculated that Dr. Isaacson

                     found a net level confusion of 3.6% in his “Handbag Purchasers” survey.

                     Specifically, he found that 18.8% of respondents were confused in the Test


29
     See Expert Report of Dr. Bruce Isaacson, Exhibit 11.


                                                                                                      22
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                 Cell and 15.2% were confused in the Control Cell.30 Thus, net likelihood of

                 confusion in his Handbag Purchaser Survey was 3.6% (i.e., 18.8% minus

                 15.2%). A net confusion level of 3.6% falls far below any reasonable threshold

                 for determining that a likelihood of confusion exists.31


        3.5.3.   Since he designed and executed it, I assume that Dr. Isaacson believed that

                 his Handbag Purchasers survey was an appropriate and relevant survey to

                  conduct in this matter. However, at some point between fielding the survey and

                  writing his report, he appears to have decided that the results of this survey

                  were no longer relevant. In explaining this decision, he states that his opinions

                  “are based on the survey of NFT purchasers rather than the survey of handbag

                  purchasers because Hermès has made allegations in this matter that are

                  consistent with forward confusion.”32


        3.5.4.   In response, I offer the following opinions:


           3.5.4.1.   First, I respectfully suggest that it is “bad science” to design and execute a

                      study and then retroactively decide that the survey is no longer relevant

                      when it yields results unfavorable to the party sponsoring the research. If

                      Dr. Isaacson’s study was proper and relevant when it was designed, it

                      remains proper and relevant even if it yields results that run contrary to the

                      interests of Plaintiffs (i.e., shows no likelihood of confusion).


           3.5.4.2.   Second, Dr. Isaacson’s proffered reason for not relying on his own survey

                      is demonstrably incorrect. As noted above, he implies that his Handbag


30
   Expert Report of Dr. Bruce Isaacson, Exhibit 11, p. 24.
31
   Matthew G. Ezell & AnnaBelle Sartore, “Survey Percentages in Lanham Act Matters” in Trademark and
    Deceptive Advertising Surveys: Law, Science, and Design, 317-334 (Shari S. Diamond & Jerre B.
    Swann, eds., 2022).
32
   Expert Report of Dr. Bruce Isaacson, ¶ 91.


                                                                                                   23
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                         Purchasers survey was a test of “reverse confusion” and hence not

                         relevant to Plaintiffs’ claims (of forward confusion). However, the Handbag

                         Purchasers survey is not a reverse confusion survey because the stimulus

                         he showed was the junior user’s allegedly infringing webpage. A reverse

                         confusion survey would involve presenting the senior user’s goods and

                         testing if consumers thought they were put out by, or affiliated, approved,

                         authorized, or sponsored by the junior user.33 Thus, his Handbag

                         Purchasers survey is not a reverse confusion survey, and this cannot,

                         therefore, be a proper basis for abandoning it.


              3.5.4.3.   Third, regardless of whether it had shown evidence for or against

                         likelihood of confusion, Dr. Isaacson’s Handbag Purchaser survey is

                         flawed because it failed to recruit consumers likely to be exposed to the

                         junior user’s allegedly infringing goods. To be clear – this is not an issue

                         of forward versus reverse confusion as Dr. Isaacson wrongly suggests. His

                         Handbag Purchaser survey is not a reverse confusion survey for the

                         reasons documented above. But neither is it a proper survey of forward

                         confusion. As noted authorities Barber and Yaquinto put it (bolding added),

                         “The relevant universe for testing “forward” confusion is conventionally the

                         junior user’s potential customers given that forward confusion occurs

                         when consumers believe that the junior user’s products or services are put

                         out by, sponsored by, or affiliated with the senior user.”34 By recruiting the




33
     See William G. Barber and Giulio E. Yaquinto. “The Universe” in Trademark and Deceptive Advertising
      Surveys: Law, Science, and Design, 31-56 (Shari S. Diamond & Jerre B. Swann, eds. 2022).
34
     See William G. Barber and Giulio E. Yaquinto. “The Universe” in Trademark and Deceptive Advertising
      Surveys: Law, Science, and Design, 31-56 (Shari S. Diamond & Jerre B. Swann, eds. 2022).



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                          senior user’s customers, Dr. Isaacson failed to meet this forward confusion

                          requirement and thus did not test confusion among those likely to

                          encounter the allegedly infringing goods.


               3.5.4.4.   Fourth, despite the multiple flaws documented in this report (which

                          generally apply to both surveys Dr. Isaacson conducted), the results of the

                          Handbag Purchasers survey do have at least some informational value,

                          albeit for questions other than likelihood of confusion. In particular, the

                          results of this second survey strongly suggest either that Plaintiffs’ likely

                          customers (a) understand the accused NFT to be art, or (b) perceive the

                          Birkin mark and Birkin trade dress to be weak source identifiers for

                          Hermès.


               3.5.4.5.   I base that conclusion on several factors. First, Dr. Isaacson’s Handbag

                          Purchasers survey recruited U.S. consumers who spend $10,000 or more

                          on handbags. Accordingly, this survey clearly narrowed to the consumer

                          universe of individuals likely to purchase luxury handbags, including

                          Plaintiffs’ Birkin bag. Second, given this, what do Dr. Isaacson’s findings

                          among these individuals suggest about the strength of the BIRKIN mark

                          and the claimed Birkin trade dress? To answer this question, it is useful to

                          recall that in his Test Cell, respondents saw a stimulus that allegedly

                          includes both the Birkin trade dress and also the BIRKIN mark. For

                          example, Test Cell respondents saw the following:35




35
     Expert Report of Dr. Isaacson, Exhibit 2, page 5.


                                                                                                          25
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            3.5.5. In the Control Cell, Dr. Isaacson removed the claimed Birkin trade dress and

                      removed the claimed BIRKIN mark. For example, Control Cell respondents

                      saw the following:36




36
     Expert Report of Dr. Isaacson, Exhibit 2, page 5.


                                                                                               26
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          3.5.6. What did the presence (Test Cell) versus absence (Control Cell) of these

                   purportedly “famous” and “distinctive”37 source indicators do to the results of

                   Dr. Isaacson’s survey? The answer is, very little. In the Test Cell, where these

                   source indicators were present, only 18.8%38 of luxury handbag purchasers

                   identified Plaintiffs (i.e., Hermes, Birkin) as the source of the item shown or as

                   sponsoring, authorizing, or approving the item shown. More importantly, when

                   these source indicators were removed in the Control Cell,15.2% of luxury

                   handbag purchasers still identified Plaintiffs.39 Thus, the presence (vs.

                   absence) of these purportedly famous and distinctive source indicators caused

                   an increase of only 3.6% (i.e., 18.8% minus 15.2%) in the likelihood that



37
   Amended Complaint, ¶14.
38
   Expert Report of Dr. Bruce Isaacson, Exhibit 11, p. 24.
39
   Expert Report of Dr. Bruce Isaacson, Exhibit 11, p. 24.


                                                                                                     27
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                    Plaintiffs’ likely purchasers associated the depicted goods with Hermes.


           3.5.7. There are only two plausible explanations for this de minimis increase in

                    mentions of Plaintiffs observed in the Test Cell (vs. the Control Cell) of Dr.

                    Isaacson’s Handbag Purchasers survey.


             3.5.7.1.   First, Plaintiffs’ BIRKIN mark and Birkin trade dress may indeed

                        theoretically be distinctive among luxury handbag purchasers, but those

                        purchasers may also recognize Defendant’s NFT to be an artistic

                        representation. Under this analysis, despite their familiarity with Plaintiffs’

                        marks and trade dress, luxury handbag purchasers may understand that

                        Defendant’s NFT is art, and therefore generally believe it not to be put out

                        by Plaintiffs or authorized, sponsored, or approved by Plaintiffs.


             3.5.7.2.   The only plausible alternative explanation is that Plaintiffs are incorrect

                        when they assert that the BIRKIN mark is “famous” and that the Birkin

                        trade dress is “distinctive.”40 If the presence (vs. absence) of both of these

                        source indicators combined is driving only a 3.8% increase in mentions of

                        Plaintiffs, then the word mark and trade dress cannot plausibly be

                        considered famous or even strong. Under this analysis, the results from

                        Dr. Isaacson’s survey of Handbag Purchasers suggest that the BIRKIN

                        mark and Birkin trade dress are weak, causing fewer than 1 in 25 likely

                        purchasers to think of Plaintiffs.


      3.6. Flaw 5: Dr. Isaacson did not disclose, and refused to provide when requested,

          critical data coding that he relied upon as the basis for certain opinions. I was




40
     Amended Complaint, ¶14.


                                                                                                      28
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        therefore unable to complete my scientific review of his findings.


        3.6.1. Dr. Isaacson’s Expert Report confirms that his NFT Purchaser Survey produced

                a “database of 221 completed interviews.”41 That is, 221 respondents passed all

                screening criteria and completed his survey. Despite this, the final data set Dr.

                Isaacson relies upon includes only 201 respondents. This discrepancy (221

                versus 201) is, according to Dr. Isaacson, caused by his decision to exclude “20

                respondents”42 after data collection based on his subjective review of their

                answers. Specifically, he states that these individuals were “removed during

                quality control or validation.”43 According to Exhibit 7 of his Expert Report,44 13 of

                these respondents were removed because they “(p)rovided open-ended

                responses that reflected a lack of attention.” An additional 5 respondents were

                removed because of “time to complete the survey45” and a further 2 were

                removed because they “(p)rovided open-ended responses that reflected a lack

                of attention and time to complete the survey.”


        3.6.2. I note first that, despite making 8 requests,46 Counsel for Plaintiffs repeatedly (a)

                refused to identify the 20 respondents Dr. Isaacson excluded, and (b)

                furthermore refused to provide the data coding Dr. Isaacson performed on these

                respondents that forms the basis of his opinion that they should be excluded.


        3.6.3. For multiple reasons, this is highly improper scientific conduct and it violates well-



41
   Expert Report of Dr. Bruce Isaacson, ¶ 51.
42
   Expert Report of Dr. Bruce Isaacson, ¶ 51.
43
   Expert Report of Dr. Bruce Isaacson, ¶ 51.
44
   Expert Report of Dr. Bruce Isaacson, Exhibit 7, p. 1
45
   Per footnote 3 in Exhibit 7 of Dr. Isaacsons’s report, this was defined a “respondents who took less
     than two minutes or more than one hour to complete the survey.”
46
   Via Counsel for Defendant, I made 8 requests for the relevant missing data. These requests, made via
     email, were sent on August 24, 26, 27, 29, 31, and September 1.



                                                                                                     29
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               accepted data reporting requirements that apply to surveys in litigation and

               scientific surveys in general. In support, I note that:


           3.6.3.1.    First, Dr. Isaacson (or someone working at his direction) appears to have

                       reviewed the data from these 20 respondents, and coded them for

                       exclusion based on a subjective determination that each respondent

                       completed the survey too quickly, too slowly, and/ or was not paying

                       sufficient attention based on certain open-ended answers they provided.

                       On the basis of this coding, Dr. Isaacson then reached an opinion that

                       these respondents should be excluded. Despite this, Dr. Isaacson refused

                       to even identify the 20 individuals (from a dataset of more that 3800

                       people) let alone provided the coding he performed, which forms the

                       basis of his opinion. As a result, he has simply failed to provide for

                       independent review the data underlying a key opinion in his Expert

                       Report.

           3.6.3.2.    Second, requirements concerning the disclosure of expert’s coding of

                       data are clearly provided in The Federal Judicial Center’s Reference

                       Guide on Survey Research, which explains that: “In all cases, the

                       verbatim responses should be available so that they can be recoded

                       using alternative criteria.”47 To be clear, by refusing to even identify the

                       individuals who were excluded, Dr. Isaacson has made it impossible for

                       the data to “be recoded using alternative criteria,”48 as the Reference

                       Guide on Survey Research stipulates must be allowed “in all cases.”49




47
   Diamond, S. S. (2011). Reference guide on survey research. Reference Manual on Scientific Evidence:
    Third, p. 413.
48
  Ibid. 413.
49
   Ibid, 413.


                                                                                                      30
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              3.6.3.3.    Third, as noted authority on trademark surveys, Dr. Jacob Jacoby,

                          explains, experts must disclose their coding as a basic matter of scientific

                          transparency:

                              “A fundamental requirement for research to qualify as being scientific is

                              for independent parties to be able to examine and, if desired, replicate and

                              test the original researcher's procedures, coding, and analyses. Among

                              other things, this means that if requested by opposing counsel and expert,

                              the data matrix needs to be provided. If the data matrix is provided but

                              without the codebook, there may be no way for the opposing party to

                              figure out what the numbers in each column signify. In some instances,

                              the absence of a codebook may be because the original researcher did not

                              prepare one. In other instances, opposing counsel may refuse to provide

                              the codebook, arguing that what was done is self-obvious-essentially

                              saying ‘you figure it out.’ Recognize that because such a reply violates a

                              fundamental scientific requirement, it may jeopardize admission of the

                              entire survey or having it accorded weight.”50

           3.6.4.   In summary, it was highly improper for Dr. Isaacson to refuse to identify the

                    excluded individuals or disclose the coding he performed to reach his opinion

                    that they should be excluded. It rendered it impossible for me to evaluate the

                    scientific validity of his approach, replicate his analysis, or complete my

                    independent view of his surveys and opinions.


4. Section 4: Summary of Opinions

      4.1. As documented in this Expert Rebuttal Report, it is my considered scientific opinion

            that the conclusions Dr. Isaacson draws regarding likelihood of confusion are not


50
     Jacob Jacoby (2013). Trademark Surveys: Designing, implementing, and evaluating surveys. p. 886.


                                                                                                             31
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  scientifically valid or reliable. I base that opinion on (a) the existence of multiple design

  flaws in his surveys that introduced systematic bias in favor of Plaintiffs, and (b) a

  highly material data coding error in his NFT Purchaser Survey that led Dr. Isaacson to

  wrongly infer a likelihood of confusion in that survey. When this error is corrected, both

  of Dr. Isaacson’s surveys show that there is no likelihood of confusion with Plaintiffs

  caused by Defendant’s alleged infringement of Plaintiffs’ marks. The primary design

  flaws and data analysis errors I identified in Dr. Isaacson’s surveys are restated below:

4.1.1. Flaw 1: Dr. Isaacson’s studies inextricably combine confusion caused by the

        HERMÈS word mark, the BIRKIN word mark, the allegedly confusing

        “MetaBirkins” name, and the claimed Birkin Trade Dress. As a result, it is

        scientifically impossible to draw any scientific inferences about what amount of

        confusion, if any, is caused by any one of these elements in isolation.

4.1.2. Flaw 2: Dr. Isaacson correctly included a follow-up question to rule out the

        “reading test” problem in Eveready surveys of this kind. However, he then

        improperly ignored the data from this question, thereby materially inflating

        confusion and drawing the wrong conclusion in his “NFT Purchaser Survey.”

        After recoding to correct this flaw, his “NFT Purchaser Survey” shows no

        likelihood of confusion.

4.1.3. Flaw 3: Dr. Isaacson’s confusion questions (Q1 and Q7) are inherently

        ambiguous in a manner that is biased in favor of Plaintiffs and against Defendant.

4.1.4. Flaw 4: Dr. Isaacson’s Survey of Handbag Purchasers was improperly

        abandoned—apparently after it produced unfavorable results for Plaintiffs. Its

        results are relevant and suggest either that (a) Plaintiffs’ customers understand

        the accused NFT to be art, or (b) the Birkin mark and Birkin trade dress are very

        weak and are not acting as source identifiers.




                                                                                            32
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      4.1.5. Flaw 5: Dr. Isaacson did not disclose, and refused to provide when requested,

               critical data coding that he relied upon as the basis for certain opinions. I was

               therefore unable to complete my scientific review of his findings.

5. Section 5: Other Information/Materials Reviewed

   5.1. In preparing this Rebuttal Report, I reviewed:

          5.1.1. Expert Report of Dr. Bruce Isaacson

          5.1.2. Plaintiffs’ First Amended Complaint

          5.1.3. Defendant’s Answer and Affirmative Defenses

          5.1.4. Memorandum of Law in Support of Defendant Mason Rothschild’s Motion to

                  Dismiss the Amended Complaint

          5.1.5. Memorandum of Law in Opposition to Mason Rothschild’s Motion to Dismiss

          5.1.6. Reply Memorandum of Law in Further Support of Defendant Mason

                  Rothschild’s Motion to Dismiss the Amended Complaint

          5.1.7. Judge Jed S. Rakoff’s Memorandum Order in this Matter

          5.1.8. Other materials as cited throughout this report.

  5.2. This report is based on information currently available to me, and I reserve the right to

         amend or supplement this report and my opinions when and if additional information or

         documents are made available to me.


I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief, this 1st day of September 2022.




                                                     David T. Neal, Ph.D.




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                                                  Exhibit A
                            Curriculum Vitae - David Neal, Ph.D.

David T. Neal, Ph.D.
Founding Partner
Catalyst Behavioral Sciences LLC
Executive in Residence, Duke University


Prior appointments ________________________________________________

2010-2013          Founding Partner, Empirica Research PTY LTD

2009-2011          Assistant Research Professor of Psychology
                   University of Southern California

2006-2009          Director, Social Science Research Laboratories
                   Duke University


Education ________________________________________________________

2006 – 2009        Postdoctoral Fellow
                   Duke University, Psychology and Neuroscience

2001 – 2005        Ph.D. in Social Psychology, University of Melbourne, Australia.
                   Dissertation: Automatic influences of stereotypes and affect on
                   judgment and decision-making

1996 – 2000        B.A. (Hons) University of Melbourne
                   Majors: Psychology, Philosophy


Peer Reviewed Publications_________________________________________

Neal, D. (2022). Psychological considerations in designing trademark and false advertising survey
      questionnaires. To appear in Shari S. Diamond & Jerre B. Swann (Eds.) Trademark and Deceptive
      Advertising Surveys: Law, Science, and Design.

Wood, W., Mazar, A., & Neal, D. (2021). Habits and goals in human behavior: Separate but interacting
    systems. Perspective on Psychological Science.

Townsend, C., Neal, D. T., & Morgan, C. (2019). The impact of the mere presence of social media share
     icons on product interest and valuation. Journal of Business Research, 100, 245-254.

Ascarza, E., Neslin, S. A., Netzer, O., Anderson, Z., Fader, P. S., Gupta, S., et al., (2018). In pursuit of
     enhanced customer retention management: Review, key issues, and future directions. Customer
     Needs and Solutions, 5(1-2), 65-81.

Carden, L., Wood, W., Neal, D. T., & Pascoe, A. (2017). Incentives activate a control mind-set: good for
     deliberate behaviors, bad for habit performance. Journal of the Association for Consumer
     Research, 2(3), 279-290.


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Labrecque, J. S., Wood, W., Neal, D. T., & Harrington, N. (2016). Habit slips: When consumers
     unintentionally resist new products. Journal of the Academy of Marketing Science, 1-15.

Wood, W., & Neal, D. T. (2016). Healthy through habit: Interventions for initiating and maintaining health
    behavior change. Behavioral Science and Policy, 2(1), 71-83.

Rothman, A. J., Gollwitzer, P. M., Grant, A. M., Neal, D. T., Sheeran, P., & Wood, W. (2015). Hale and hearty
     policies: How psychological science can create and maintain healthy habits. Perspectives on
     Psychological Science, 10(6), 701-705.

Teyhen, D. S., Aldag, M., Centola, D., Edinborough, E., Ghannadian, J. D., Haught, A., Jackson, T., Kinn, J.,
     Kunkler, K. J., Levine, B., Martindale, V.E., Neal, D. T., Snyder, L. B., Styn, M. A., Thorndike, F.,
     Trabosh, V., & Parramore, D. J. (2014). Incentives to create and sustain healthy behaviors:
     Technology solutions and research needs. Military Medicine, 179, 1419-1431.

Teyhen, D. S., Aldag, M., Edinborough, E., Ghannadian, J. D., Haught, A., Kinn, J., Kunkler, K. J., Levine, B.,
     McClain, J., Neal, D. T., Stewart, T., Thorndike, F. P., Trabosh, V., Wesensten, N., & Parramore, D. J.
     (2014). Leveraging technology: Creating and sustaining changes for health. Telemedicine and e-
     Health, 20(9), 835-849.

Teyhen, D. S., Aldag, M., Centola, D., Edinborough, E., Ghannadian, J. D., Haught, A., Jackson, T., Kinn, J.,
     Kunkler, K. J., Levine, B., Martindale, V. E., Neal, D. T., Snyder, L. B., Styn, M. A., Thorndike, F.,
     Trabosh, V., & Parramore, D. J. (2014). Key enablers to facilitate healthy behavior change: Workshop
     summary. Journal of Orthopedic & Sports Physical Therapy, 44, 378-387.

Norton, M. I., Neal, D. T., Govan, C. L., Ariely, D., & Holland, E. (2014). The not-so-common-wealth of
     Australia: Evidence for a cross-cultural desire for a more equal distribution of wealth. Analyses of
     Social Issues and Public Policy, 14(1), 339-351.

Neal, D. T., Wood, W., & Drolet, A. (2013). How do people adhere to goals when willpower is low? The
      profits (and pitfalls) of strong habits. Journal of Personality and Social Psychology,104, 959 –975.

Neal, D. T., Wood, W., Labrecque, J., & Lally, P. (2012). How do habits guide behavior? Perceived and
      actual triggers of habits in daily life. Journal of Experimental Social Psychology, 48, 492–498.

Moore, S. G., Neal, D. T., Fitzsimons, G., & Shiv, B. (2012). Wolves in sheep’s clothing: When and how
     hypothetical questions influence behavior. Organizational Behavior and Human Decision Processes,
     117, 168-178.

Neal, D. T., Wood, W., Wu, M., & Kurlander, D. (2011). The pull of the past: When do habits persist despite
      conflict with motives? Personality and Social Psychology Bulletin, 37, 1428–1437.

Neal, D. T., & Chartrand, T. L. (2011). Embodied emotion perception: Dampening and amplifying facial
      feedback modulates the accuracy of emotion perception. Social and Personality Psychology Science,
      2, 673-678.

Quinn, J., Pascoe, A., Wood, W., & Neal, D. T. (2010). Can’t control yourself? Monitor those bad habits.
     Personality and Social Psychology Bulletin, 36, 499-512.

Wood, W., & Neal, D. T. (2009). The habitual consumer. Journal of Consumer Psychology, 19, 579-592.

Neal, D. T., & Wood, W. (2008). Automaticity in situ: Direct context cuing of habits in daily life. In E. Morsella,
      J.A., Bargh, & P.M. Gollwitzer (Eds.), The Psychology of Action, Volume 2: Mechanisms of Human
      Action. Oxford University Press.

Neal, D. T., & Wood, W. (2008). Linking addictions to everyday habits and plans. Behavioral and Brain
      Sciences, 31, 455-456.

Neal, D. T., Wood, W., & Pascoe, T. (2008). Triggers of real-world habits. Proceedings of the Annual
                                                                                                                 2
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      Conference of the Association for Consumer Research. Memphis, TN.

Wood, W., & Neal, D. T. (2007). A new look at habits and the habit-goal interface. Psychological Review,
    114, 843-863.

Neal, D. T. (2007). Habit. In W.A. Darity (Ed.), International Encyclopedia of the Social Sciences (2nd Ed.).
      Macmillan Reference, USA.

Neal, D. T., Wood, W., & Quinn, J. (2006). Habits: A repeat performance. Current Directions in Psychological
      Science, 15, 198-202.

Haslam, N., Bain, P., & Neal, D. T. (2004). The implicit structure of positive characteristics. Personality and
     Social Psychology Bulletin, 30, 529-541.

Other Publications _________________________________________________

Neal, D. T., Vujcic, J., Burns, R., Wood, W., & Devine, J. (2016). Nudging and Habit Change for Open
      Defecation: New Tactics from Behavioral Science. The World Bank Group & Catalyst Behavioral
      Sciences.

Neal, D. T., Vujcic, J., Hernandez, O., & Wood, W. (2015). The Science of Habit: Creating Disruptive and
      Sticky Behavior Change in Handwashing Behavior. Washington, D.C., USAID/WASHplus.

Cuddy, A. J. C., Govan, C. L., Neal, D. T., & Coster, A. (2012). “Qantas Luxury: Grounded Flights, First-class
     Pajamas, and Twitter Hashtags.” Harvard Business School Case N9-912-026.

Neal, D. T., Govan, C., Norton, M., & Ariely, D. (2011a). Australian attitudes towards wealth inequality and
      the minimum wage.

Neal, D. T., Govan, C., Norton, M., & Ariely, D. (2011b). Australian attitudes towards wealth inequality and
      the progressive taxation.

Invited Keynotes and Presentations _______________________

May 2022 CLE Websinar. Use of surveys in patent litigation. The San Francisco Intellectual Property Law
          Associaion (SFIPLA).

Nov 2021    Invited lecture. UNC-Chapel Hill. Masters in Applied Statistics

Oct 2021.   Invited lecture. Abbott. Consumer Survey Design.

Aug 2021     Keynote Speaker: Habit Day Event.

Oct 2019     Speaker. R-SHOT: Results of the Zika Grand Challenge Experience. USAID. Washington, DC.

Nov 2018     Invited address. Habit, Behavior Change and the National Diabetes Prevention Program. The
             Centers for Disease Control and Prevention. Atlanta, GA.

Apr 2018      Speaker. Food as Medicine Conference. University of Pennsylvania.

Oct 2017      Guest speaker. Wharton Business School, University of Pennsylvania.

Aug 2017      Speaker. Habits Conference, University of Southern California

Mar 2017      Guest speaker. Miami Business School, University of Miami             .

Dec 2016      Keynote address. Physician Organization Exchange. Torrey Pines, CA.

Nov 2016      Keynote address. Norton Medical Group Summit. Louisville, KY.
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Oct 2016      Guest speaker. Habit and Behavior Change. World Vision, Washington, DC.

Sep 2016      Guest speaker. GAIN Thought Leaders Discussion Event, Washington, DC.

Sep 2016      Moderator. Behavioral Economics and SBCC. Springboard for Health Communication.

May 2016      Guest speaker. Triennial Invitational Choice Symposia, Alberta, Canada.

Apr 2016      Keynote address. Health Leaders Media Population Health Exchange, Austin, TX.

Apr 2016      Expert panelist. Behavioral Economics in Reproductive Health Initiative, New Orleans, LA.

Feb 2016      Keynote address. SBCC Summit, Ethiopia, Africa.

Nov 2015      Guest speaker. USAID Nudges & Tactics to Reduce Open Defecation, Washington, DC.

Aug 2015      Keynote address. Health Leaders Media CFO Exchange, Colorado Spring, Texas.

Jan 2015      Presentation. Surgeon General of the US Army. Brain Health Consortium, Fairfax, Virginia.

Aug 2014      Presentation. Habit and behavior change. Cincinnati Children’s Hospital.

May 2013      Keynote address. National Center for Women and Information Technology, Annual Summit.
               Tucson, AZ.

Jul 2012      Guest speaker. Control and the Absent Mind Conference, Essen, Germany.

Oct 2011      Keynote address. EUCognition Conference, Groningen, Netherlands.

Feb 2011      Symposium presentation. Society for Personality and Social Psychology Annual
                Conference, San Antonio, Texas.

Oct 2010      Colloquium presentation. Psychology Department. San Diego State University.

May 2008      Colloquium presentation. Department of Epidemiology and Health. University College
                London.

May 2008      Guest speaker. London School of Hygiene and Tropical Medicine.

Jan 2008      Symposium presentation. Society for Personality and Social Psychology Annual Conference,
              Albuquerque, NM.


Testimony at Trial or Deposition_______________________

State of Arizona ex rel. Mark Brnovich, Attorney General v. Google LLC, a Delaware limited liability
company. The Superior Court of the State Of Arizona in and for the County of Maricopa.

RightQuestion, LLC, v. Samsung Electronics Co., LTD., and Samsung Electronics America, INC., United
States District Court for the Eastern District of Texas, Marshall Division.

Luckenbach Texas, inc., v. Stewart Skloss, Stemma Loldings, L.P., Luckenbach Road Whiskey Wistillery,
LLC, Luckenbach Whiskey, LLC, LRW Ventures, LLC, Frontier Spirits, LLC, and Pura Vida Spirits Company,
LLC. United States District Court. Wester District of Texas, Austin Division.

Growmark, Inc., v. Hanse Orga GMBH. United States Patent and Trademark Office, The Trademark Trial
And Appeal Board.

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Deckers Outdoor Corporation v. Walmart Inc & Does 1-10. United States District Court. Central District of
California.

Adidas America Inc. and Adidas AG v. Fashion Nova Inc. United States District Court. District of Oregon,
Portland Division.

TherapeuticsMC v. Evofem Biosciences Inc. United States District Court Southern District Of Florida, West
Palm Beach Division.

River Light V, L.P. and Tory Burch LLC, v. Olem Shoe Corp., United States District Court Southern District
Of New York.

Solid 21, Inc. v. Richemont North America, Inc.; Richemont International, S.A.; and Montblanc-Simplo
GMBH. United States District Court for the Southern District of New York.

D. H. Pace Company, Inc., D/B/A Overhead Door Company of Atlanta and Overhead Door Company of
Kansas City v. OGD Equipment Company, LLC. United States District Court For The Northern District of
Georgia, Atlanta Division.

Gree Inc. v. SuperCell OY. United States District Court for the Eastern District of Texas, Marshall Division.

Solid 21, Inc. v. Breitling U.S.A., Inc. and Breitling SA (a/k/a Breitling AG). United States District Court for the
Southern District of Connecticut.

Gree Inc. v. SuperCell OY. United States District Court for the Eastern District of Texas, Marshall Division.

Oroville Dam Cases. Superior Court of California. County Of Sacramento.

American Airlines, Inc. v. Delta Airlines, Inc., United States District Court for the Northern District of Texas,
Fort Worth Division.

Chooseco LLC, v. Netlfix Inc. United States District Court for the District of Vermont.

Gree Inc. v. SuperCell OY. United States District Court for the Eastern District of Texas, Marshall Division.

Bluetooth SIG Inc. v. FCA US LLC. United States District Court for the Western District of Washington,
Seattle Division.

Jam Cellars, Inc. v. The Wine Group LLC. United States District Court for the Northern District of California.

AWGI, LLC, Atlas Logistics, Inc. and Atlas Van Lines, Inc., V. Atlas Trucking Company, LLC., Atlas Logistics,
LLC., and Eaton Steel Bar Company, Inc. United States District Court for the Eastern District of Michigan.

Solid 21, Inc. v. Ulysse Nardin, Usa Inc. A/K/A/ Ulysse Nardin, Inc.; Kering, S.A.; and Ulysse Nardin SA.
United States District Court for the Southern District of Florida.

OGD Equipment Co. D/B/A Overhead Garage Door, LLLC, v. Overhead Door Corporation and Overhead
Door Company Of Lubbock, Inc., United States District Court For The Eastern District of Texas, Sherman
Division.

Corus Realty Holdings, Inc. v. Zillow Group, Inc., Zillow, Inc., and Trulia, LLC. United States District Court,
Western District of Washington.




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Dr. Mark A. Barry v. DePuy Synthes Products, Inc., Medical Device Business Services, Inc., and DePuy
Synthes Sales, Inc. D/B/A/ Depuy Synthes Spine. United States District Court for the Eastern District of
Pennsylvania.

Mahindra & Mahindra, LTD. and Mahindra Automotive North America, Inc. v. FCA US LLC. United States
District Court for the Eastern District of Michigan.

RVCFloor Décor, Ltd., V. Floor & Decor Holdings, Inc. and Floor And Decor Outlets Of America, Inc., United
States District Court For The Eastern District Of New York.

Ferring Pharmaceuticals Inc., Ferring B.V., and Ferring International Center S.A., v. Serenity
Pharmaceuticals, LLC, and Reprise Biopharmaceutics, LLC, United States District Court For The Southern
District Of New York.

D. H. Pace Company, Inc., D/B/A Overhead Door Company of Atlanta, v. Aaron Overhead Door Atlanta LLC,
Jeremy Ryan Lucia, and Stephenie Lucia. United States District Court For The Northern District of Georgia,
Atlanta Division.

Car-Freshner Corporation and Julius Samann LTD., v. American Covers LLC, F/K/A American Covers, Inc.
D/B/A Handstands, Energizer Holdings, Inc,. and Energizer Brands, LLC. United States District Court For
The Northern District Of New York.

Energizer Brands, LLC v. Duracell U.S. Operations, Inc. United States District Court for the Eastern District
of Missouri.

Mark A. Barry M.D., v. Medtronic, Inc. United States District Court for the Eastern District of Texas,
Beaumont Division.

Edible Arrangements International LLC & Edible Arrangements LLC v. 1-800-Flowers.com, Inc., 800-
Flowers, Inc. And June v. Delaney and David Delaney d/b/a Fruit Bouquet Staten Island. United States
District Court, District of Connecticut.

Sanford L.P. (d/b/a/ DYMO) and DYMO B.V.B.A. v. Esselte AB, Esselte Leitz GMHB & Co. KG and Esselte
Corporation. United States District Court Southern District of New York.

PEI International v. U-Haul International, United States District Court Middle District of Florida, Tampa
Division.

Teaching Experience ______________________________________________

University of Southern California (2009-2011)
      Professor of Research Methodology

Duke University (2005-2009)
      Research Fellow teaching Consumer Psychology and Research Methodology

Expert Journal Reviewer____________________________________________

Basic and Applied Social Psychology
European Journal of Social Psychology
Journal of Consumer Research
Journal of Marketing Research
Journal of Personality and Social Psychology
Journal of Experimental Social Psychology

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Personality and Social Psychology Bulletin
Psychological Science
Social Influence
Social and Personality Psychology Compass
Social Cognition

Awards and Fellowships ___________________________________________

The Centers for Disease Control and Prevention (2019-2023), Research Grant to Investigate Retention and
Enrollment Predictors in the National Diabetes Prevenion Program, $1,515,000.

2012 Society for Consumer Psychology, Park Outstanding Contributor Award (jointly with Professor Wendy
Wood)

NSF Major Equipment Grant (2008-2009), $252,000. Co-PI.

Australian Postgraduate Award, 2001-2005, ($60,000)




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